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      Attorney for Defendant
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  8                       UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA, DIVISION 4
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 10
 11   In Re:                           )               Chapter 7
                                       )
 12   ROSEMARY GREENE,                 )               Bankruptcy No. 12-49009
                                       )
 13                    Debtor.         )
      ________________________________ )
 14                                    )
      BOSCO KANTE AND                  )               Adversary No. 18-04069
 15   MAYA KANTE,                      )
                                       )
 16                    Plaintiffs,     )
      vs.                              )
 17                                    )               Date: June 20, 2018
      ROSEMARY GREENE,                 )               Time: 10:30 a.m.
 18                                    )               Place: 1300 Clay Street
                                       )                      Room 220
 19                                    )                      Oakland, CA
                       Defendant.      )
 20   ________________________________ )               HON. WILLIAM J. LAFFERTY
 21
 22                   MOTION TO DISMISS ADVERSARY PROCEEDING
 23
               Rosemary Greene moves the court to dismiss this adversary proceeding under
 24
      Federal Rule of Bankruptcy Procedure 7012 incorporating Federal Rule of Civil
 25
      Procedure 12(b)(6) on the grounds that it fails to state a claim on which relief may be
 26
      granted.
 27
 28   ///
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  1        The motion is based on the points and authorities filed herewith.
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  3                                           MORAN LAW GROUP, INC.
  4
                                              /s/ Cathleen Cooper Moran
                                              _________________________________
  5                                           CATHLEEN COOPER MORAN
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